Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 1 of 21 PAGEID #: 453



                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


     In re: American Honda Motor Co., Inc.,                   Case No. 2:15-md-2661
     CR-V Vibration Marketing and Sales
     Practices Litigation,                                    Judge Michael H. Watson
                                                              Magistrate Judge Deavers
     This document relates to: ALL CASES



          PLAINTIFFS’ OPPOSITION TO MOTION TO COMPEL ARBITRATION

I.        INTRODUCTION

          American Honda Motor Company seeks to force Plaintiffs Fennes, Prychitko, Nonni, Hsi,

and Bergendahl to arbitrate their claims against Honda regarding the 2015 CR-V’s excessive

vibration, despite the fact that Honda’s warranty specifies that customers retain the right to bring

such defect-related claims in court. In an attempt to contravene its own warranty terms, Honda

relies on plaintiffs’ purchase agreements with dealerships, and in the case of the Bergendahl

plaintiffs, dealership repair invoices. But these dealership documents expressly limit their

arbitration provisions to disputes between the consumer and the dealership, disclaim any agency

relationship between the dealership and Honda, and explain that they do not incorporate Honda’s

warranty. And a number of courts—including in cases involving Honda—have rejected arbitration

motions in this context. E.g., Kramer v. Toyota Motor Corp., 705 F.3d 1122 (9th Cir. 2013); Soto

v. Am. Honda Motor Co., 946 F. Supp. 2d 949 (N.D. Cal. 2012).

          As those and other courts have explained, for a nonsignatory like Honda to be able to

compel arbitration under the theory of equitable estoppel, plaintiffs’ claims must be “intimately

founded in” or “inextricably bound up with” the contract Honda seeks to enforce. Kramer, 705

F.3d at 1129. In other words, the requirement that claims depend on (or be inextricably bound up


                                                 1
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 2 of 21 PAGEID #: 454



with) the terms of the contract containing the arbitration provision is the “sine qua non” of

imposing equitable estoppel. See, e.g., Machado v. System4 LLC, 471 Mass. 204, 212, 216 (2015);

Goldman v. KPMG LLP, 173 Cal. App. 4th 209, 213-14 (2011). Yet in this instance, none of

plaintiffs’ claims are bound up in their contracts with independent dealerships—the claims are

based instead on Honda’s design and manufacture of vibrating vehicles, Honda’s concealment of

that defect, and Honda’s shifting warranty policies.

       Honda makes much of the Complaint’s purported allegations of concerted misconduct

between Honda and its independent dealerships. In doing so, Defendant mischaracterizes the

Complaint, which consistently identifies Honda—the designer, manufacturer, and warrantor—as

solely responsible. But even if its characterization were accurate, “allegations of substantially

interdependent and concerted misconduct by signatories and nonsignatories, standing alone, are

not enough: the allegations of interdependent misconduct must be founded in or intimately

connected with the obligations of the underlying agreement.” Kramer, 705 F.3d at 1133. Because

the Complaint does not rely on the purchase agreements or repair invoices for any of its claims,

the conditions for equitable estoppel are not met, and Honda cannot compel plaintiffs to arbitrate

under agreements to which it is not a party.

       Finally, a further reason that Honda cannot enforce the dealerships’ arbitration provisions

is that the Magnuson-Moss Warranty Act (“MMWA”) bars it from doing so. The MMWA limits

the dispute resolution procedures that warrantors may offer to consumers: they may provide only

an optional, informal, and non-binding dispute settlement procedure (which is exactly what Honda

has done in its warranty). Plaintiffs’ Ex. 1 at 00879-922. Honda’s attempt to use the binding

arbitration provisions in the dealerships’ contracts, when its own warranty contains a non-binding




                                                2
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 3 of 21 PAGEID #: 455



arbitration option instead, is a transparent effort to evade the language of the MMWA and its

implementing regulations. This Court should not permit it.

II.    SUMMARY OF RELEVANT DOCUMENTS

       Honda attached as exhibits to its motion the purchase agreements that all six plaintiffs

entered into with independent Honda dealerships where they bought their 2015 CR-Vs, as well as

two dealership repair invoices for repairs performed on the Bergendahls’ CR-V. These agreements

contain similar language with respect to three areas of central importance: (1) Honda’s lack of

rights and obligations under the agreements; (2) the parties subject to the obligation to arbitrate;

and (3) the agreements’ non-inclusion of warranty coverage.

       On the first point, the Fennes purchase agreement states in its Definitions section:

       “Dealer,” “us,” “our,” and ”we” mean or refer to the authorized Dealer named on
       the face of this Order and Agreement and who becomes a party to this Order and
       Agreement by accepting It. “Manufacturer” means             the corporation   that
       manufactured the Vehicle or its designated distributor. We are not the
       Manufacturer’s agent. You and we are the sole parties to this Order and Agreement.

Honda’s Ex. A at FENNES 000012. The Prychitko purchase agreement contains similar language

in its “Definitions and Relationship” section, including the disclaimer of an agency relationship

between the dealership and Honda and a stipulation that the buyer and dealership are the only

parties to the agreement. Honda’s Ex. B at PRYCHITKO 000005. The Nonni purchase agreement,

while not overtly writing the manufacturer out of the agreement as the Fennes and Prychitko

agreements do, also identifies itself as an “agreement between the dealer and purchaser.” Honda’s

Ex. C at NONNI 000001. Meanwhile the Hsi purchase agreement, which is very much focused on

terms regarding sales on credit, emphasizes the terms of financing and repayment and refers to the

parties as “buyer” and “seller” or “creditor.” See Honda’s Ex. F.




                                                 3
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 4 of 21 PAGEID #: 456



        On the second point, the parties required to arbitrate, the exclusion of Honda as a covered

party continues. The Bergendahls’ purchase agreement says nothing about arbitration, see Honda’s

Ex. I, but the arbitration provisions in their repair invoices apply only to “dispute[s] between

customer and the dealership.” Honda’s Ex. D at BERGENDAHL 000014-15; Ex. E at

BERGENDAHL 000011-13; see also Ex. C at NONNI 000001 (“Purchaser and Dealer hereby

agree . . . to submit any claim arising out of or related to this Motor Vehicle Purchase Contract . . .

for binding arbitration . . . .”).

        The identically worded arbitration provisions in the Fennes, Prychitko, and Hsi agreements

are also distinctly binary in character, saying “either you or we may choose to arbitrate”; discussing

any claim “you may have against us”; contemplating disputes “between you and us or our

employees, agents, successors or assigns”; discussing any “rights that you and we would have in

court”; and concluding that arbitration can be initiated “at your or our election.” Honda’s Ex. A at

FENNES 000013; Ex. B at PRYCHITKO 000005; Ex. F at p. 7.

        On the third point, the same theme of limiting the agreements’ scope to purchasers and

dealerships—and excluding Honda, as the manufacturer—repeats itself in the context of the

warranties. Except for the Nonni agreement (in which the dealerships provide statutory warranties

pertinent to Maine and Massachusetts, Honda’s Ex. C at NONNI 000002), all of the purchase

agreements state that the dealership is providing the vehicle “as is,” and with “no warranties,

express or implied.” Honda’s Ex. A at FENNES 000010; Ex. B at PRYCHITKO 000005

(disclaiming all warranties); Ex. F at p.5 (“the Seller makes no warranties, express or implied”);

see also Ex. E at BERGENDAHL 000011-13 (“[t]he Seller hereby expressly disclaimers [sic] all

warranties either express or implied….”). These warranty disclaimers are followed by statements

carving out Honda’s manufacturer’s warranty as separate from, and not governed by, the purchase



                                                  4
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 5 of 21 PAGEID #: 457



agreements. See Honda’s Ex. A at FENNES 000010 (“This provision does not affect any

warranties covering the vehicle that the vehicle manufacturer may provide.”); Ex. F at p. 5 (same).

And the Prychitko purchase agreement goes even further, emphasizing that the “manufacturer’s

warranty [is] between buyer and manufacturer only.” Honda. Ex. B at PRYCHITKO 000005.

       That separate manufacturer’s warranty from Honda contains a totally distinct informal

dispute resolution program—a three-step procedure under the heading “Customer Satisfaction.”

Plaintiffs’ Ex. 1 at PLAINTIFFS 000883-84. After directing consumers to discuss concerns with

dealership management (step 1), or by writing to or calling Honda customer service (step 2), Honda

allows consumers to contact the National Center for Dispute Settlement, which “resolve[s]

disputes between vehicle manufacturers and their customers.” Id. Any decision by NCDS is “not

binding.” Id. Honda’s warranty makes clear that the NCDS procedure is optional and that

customers may bring disputes against Honda to court instead of, or after, going through the NCDS:

“If you want to go to court, we do not require you to first file a claim with NCDS. . . . If you do

not accept the decision of NCDS, you can still go to court.” Id.

III.   ARGUMENT

       A.      The Arbitration Provisions at Issue Do Not Cover Honda.

        “Arbitration [under the FAA] is a matter of consent,” for the FAA’s primary purpose is to

ensure “that private agreements to arbitrate are enforced according to their terms.” Volt Info.

Sciences, Inc. v. Bd. of Trustees of Leland Stanford Junior Univ., 489 U.S. 468, 479 (1989). Based

on “the contractual nature of arbitration,” the U.S. Supreme Court has also held that “parties may

specify with whom they choose to arbitrate their disputes.” Stolt-Nielsen S.A. v. AnimalFeeds Int’l

Corp., 559 U.S. 662, 683 (2010). As discussed above, the relevant purchase agreements and




                                                 5
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 6 of 21 PAGEID #: 458



invoices all limit the parties to their arbitration provisions to the consumer and the dealership.

Enforcing the agreements according to their terms would exclude Honda.

       Although Honda points to language referring to “relationship[s] with third parties who did

not sign this agreement,” Motion at 14, Honda takes the phrase out of context. See, e.g., Soto, 946

F. Supp. 2d at 955 (N.D. Cal. 2012) (rejecting Honda’s interpretation of a similar arbitration

clause). The sentence containing this phrase about third parties begins by reiterating whose

disputes are arbitrable: “Any claim or dispute . . . between you and us or our employees, agents,

successors or assigns.” E..g., Honda’s Ex. A at FENNES 000013. The predicate of the sentence

also names the parties that may compel arbitration: disputes “shall, at your or our election, be

resolved in neutral, binding arbitration.” Id. (emphasis added). The middle of the sentence, from

which Honda selectively quotes, describes the types of disputes subject to arbitration and includes

within that list “any resulting transaction or relationship (including any such relationship with third

parties who do not sign this Order and Agreement).” Id. Read together with the language about

successors and assigns earlier in the sentence, this language suggests that if the purchaser or

dealership later assign their rights under the contract to another entity, that entity could invoke the

arbitration provision despite not having signed it. But as to the plaintiffs’ relationship with Honda,

as another court has recognized, “this clause is inapposite. AHM’s relationship with [plaintiffs]

began at the moment [they] bought [their CR-Vs], and thus could not be a ‘resulting’ relationship

that occurred afterward.” Soto, 946 F. Supp. 2d at 955. Instead, this type of clause is better

“understood to refer to a secondary sale of the car, and not the relationship with the manufacturer

AHM.” Id.

       Honda also reaches beyond the four corners of the Bergendahl invoices in an effort to

establish a tripartite agreement “between and among the Bergendahls, the dealership, and AHM”



                                                  6
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 7 of 21 PAGEID #: 459



based on the fact that the repairs the dealership made were developed and paid for by Honda.

Motion at 10. But while Defendant may have separate agreements with Honda dealerships

requiring them to make certain repairs covered by Honda’s warranties, the Bergendahl invoices do

not contain any such terms. Instead, they contain arbitration provisions that, similar to the purchase

agreements, specify the parties as “customer and the dealership.” Honda’s Ex. D-E at

BERGENDAHL 000011-15. Moreover, to the extent that the Bergendahls had any disputes with

Honda regarding the 2015 dealership repair work, those disputes would have been subject to the

separate and non-binding dispute resolution procedures set forth in Honda’s warranty. Plaintiffs’

Ex. 1 at PLAINTIFFS 000883-84.

       B.      The Federal Policy Favoring Arbitration Does Not Apply Here, and

               Arbitrability Is a Question for this Court, Not an Arbitrator.

       Defendant conflates two doctrines: (1) the sometimes-applicable federal policy favoring

arbitration, which may require ambiguities to be construed in favor of arbitration; and (2) that

parties may delegate threshold issues of arbitrability to an arbitrator. Motion at 11-12. Neither of

these doctrines has any bearing here.

       First, because the question here is whether any agreement to arbitrate exists at all between

the plaintiffs and Honda, the federal policy favoring arbitration places no thumb on the scale in

answering that question. Granite Rock Co. v. Int’l Bhd. of Teamsters, 561 U.S. 287, 302 (2010);

see also Kramer, 705 F.3d at 1126 (“The strong public policy in favor of arbitration does not

extend to those who are not parties to an arbitration agreement.”) (quotation omitted);

Datatreasury Corp. v. Wells Fargo & Co., 522 F.3d 1368, 1372 (Fed. Cir. 2008) (“Federal policy

favoring arbitration does not apply to the determination of whether there is a valid agreement to

arbitrate between the parties; instead ordinary contract principles determine who is bound.”).



                                                  7
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 8 of 21 PAGEID #: 460



       Second, disputes over whether an agreement to arbitrate was ever formed between two

parties, like other disputes going to the existence of a contract, are threshold issues that are for a

court to decide and should not be delegated to an arbitrator. See Granite Rock, 561 U.S. at 299-

300.

       The Ninth Circuit has analyzed the delegation question in a case with strikingly similar

facts to this one and reached the conclusion that the plaintiffs advocate here. In Kramer v. Toyota

Motor Corp., a class of purchasers of 2010 Toyota Priuses brought state law claims against Toyota

for failing to disclose defects with the Prius’s antilock braking system, and continuing to sell the

2010 Prius after learning of the defects. 705 F.3d at 1124. Toyota sought to enforce arbitration

provisions in the purchase agreements between the plaintiffs and the dealerships where they bought

their Priuses, despite not being a signatory to those agreements. Id. at 1024-25. Although the

arbitration provisions in the purchase agreements contained broad language delegating issues of

arbitrability to an arbitrator, similar to the language that Honda cites in this case, the Ninth Circuit

found that the district court was still the proper decision maker to address the question of whether

Toyota could enforce the agreements:

       While Plaintiffs may have agreed to arbitrate arbitrability in a dispute with the
       Dealerships, the terms of the arbitration clauses are expressly limited to Plaintiffs
       and the Dealerships. For example, Scholten’s arbitration clause states that “[e]ither
       you or we may choose to have any dispute between you and us decided by
       arbitration.” The language of the contracts thus evidences Plaintiffs’ intent to
       arbitrate arbitrability with the Dealerships and no one else.

Id. at 1127; see also In re Toyota Motor Corp. Unintended Acceleration Mktg., Sales Practices,

and Products Liab. Litig., 838 F. Supp. 2d 967, 983-85 (C.D. Cal. 2012) (holding that the court

should decide whether Toyota could compel arbitration of plaintiffs’ claims based on agreements

with their dealerships); Soto v. Am. Honda Motor Co., 946 F. Supp. 2d 949, 954 (N.D. Cal.




                                                   8
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 9 of 21 PAGEID #: 461



2012) (same). Just as in prior cases where vehicle manufacturers tried unsuccessfully to enforce

dealership arbitration clauses, the Court should decide arbitrability.

    C.      Honda May Not Force the Plaintiffs to Arbitrate Their Claims Under the

            Doctrine of Equitable Estoppel.

         The question of whether a non-signatory such as Honda may enforce the arbitration

provision in another’s contract is to be decided in accordance with “traditional principles of state

law” such as “assumption, piercing the corporate veil, alter ego, incorporation by reference, third-

party beneficiary theories, waiver and estoppel.” Arthur Andersen LLP v. Carlisle, 556 U.S. 624,

631 (2009) (internal quotation marks omitted) (citing 21 R. Lord, Williston on Contracts § 57:19,

p. 183 (4th ed. 2001)). But this directive does not specify whether the contract law of any particular

state, such as the plaintiff’s state of residence, must be followed, and some courts have interpreted

Carlisle’s holding “as affirming the federal nature of the estoppel question, but only to the extent

that the federal law tracks traditional principles of state law that arose to govern issues concerning

the validity, revocability, and enforceability of contracts generally.” Kingsley Capital Mgmt, LLC

v. Sly, 820 F. Supp. 2d 1011, 1023 (D. Ariz. 2011).1 Plaintiffs therefore cite both federal and state

law on the issue of equitable estoppel, which will show that the law in California, Florida,




1
  While some of the purchase agreements on which Honda relies include choice of law
provisions, e.g., Honda’s Ex. A at FENNES 000013 (stating that federal and Florida law apply);
Ex. C at NONNI 000002 (providing that Massachusetts law applies); Ex. F at p. 7 (stating that
federal and California law apply), the plaintiffs deny that these agreements, which pertain only to
relationships and disputes between the plaintiffs and the dealerships, apply to the instant dispute
with nonsignatory Honda. If these agreements do not apply to the instant dispute, then their
choice of law provisions are irrelevant. Nguyen v. Barnes & Noble Inc., 763 F.3d 1171, 1175
(9th Cir. 2014). For the same reason, this Court should not consider the provision in the Nonni
purchase agreement granting exclusive jurisdiction to the Norfolk County Superior Court in
Dedham, Massachusetts. Honda’s Ex. C at NONNI 000002.
                                                  9
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 10 of 21 PAGEID #: 462



 Massachusetts, Michigan, and Oregon is consistent with the larger nationwide consensus that this

 equitable doctrine is not implicated by the facts here.

        The concept of equitable estoppel has long been recognized under state law. See, e.g., Day

 v. Advanced M & D Sales, Inc., 336 Or. 511, 518-19 (2004); Bongaards v. Millen, 440 Mass. 10,

 15 (2003). Equitable estoppel prevents a party from claiming benefits under a contract while

 simultaneously seeking to repudiate unfavorable terms of the same contract. See Int’l Paper Co.

 v. Schwabedissen Maschinen & Anlagen GMBH, 206 F.3d 411, 418 (4th Cir. 2000). “The lynchpin

 for equitable estoppel is equity, and the point of applying it to compel arbitration is to avoid a

 situation that would fly in the face of fairness.” Hill v. G E Power Systems, Inc., 282 F.3d 343, 349

 (5th Cir. 2002) (internal quotations omitted).

        Honda suggests that it can avail itself of the equitable estoppel doctrine here because (i) the

 Complaint presumes the existence of the agreements containing arbitration clauses, (ii) those

 agreements impose obligations on Honda, and (iii) the plaintiffs allege substantially

 interdependent and concerted misconduct between Honda and the dealerships. Motion at 13-15.

 The first of these arguments misstates the law, the second misstates the facts, and the third

 misstates both.

            1. Plaintiffs Do Not Seek Benefits Under or Rely Upon Terms in the Contracts.

        Honda argues that equitable estoppel applies because the Complaint presumes the existence

 of the agreements containing arbitration clauses. But that is not the correct legal standard. The

 Sixth Circuit (along with several other jurisdictions) finds equitable estoppel only where a party

 seeks benefits under the same contract that contains the arbitration provision. See Javitch v. First

 Union Securities, Inc., 315 F.3d 619, 629 (6th Cir. 2003) (explaining that nonsignatories may be

 compelled to arbitrate when they seek direct benefits under the contract, and that signatories like



                                                  10
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 11 of 21 PAGEID #: 463



 plaintiffs may be compelled to arbitrate when they seek indirect benefits under the contract);

 accord In re Merrill Lynch Trust Co. FSB, 235 S.W.3d 185, 191-94 (Tex. 2007); Ahlers v. Ryland

 Homes Nevada, 367 P.3d 743, 2010 WL 3276221, at *2 (Nev. Apr. 16, 2010) (unpublished table

 decision).

        Even outside the Sixth Circuit, where courts apply a somewhat broader test; equitable

 estoppel applies only if the signatory’s claims rely on or are “intimately founded in and closely

 related to” the agreement containing the arbitration provision. See, e.g., Machado, 471 Mass. at

 213-15 (finding plaintiffs equitably estopped from refusing to arbitrate under franchise agreements

 where analyzing the terms of those agreements was essential to the merits of plaintiffs’ claims of

 misclassification as independent contractors); Boyd v. Homes of Legend, Inc., 981 F. Supp. 1423,

 1433 (M.D. Ala. 1997) (holding that equitable estoppel is proper where “adjudication of the

 disputes between the signatory and nonsignatory parties would require interpretation, and probably

 enforcement, of the specific terms and conditions of the underlying contract”); Hughes Masonry

 Co. v. Greater Clark Cty. Sch. Bldg. Corp., 659 F.2d 836, 841 and n. 9 (7th Cir. 1981) (“Hughes

 must rely on the terms of the Hughes-Clark agreement in its claims against J.A. Hence, Hughes is

 estopped from repudiating the arbitration clause of this agreement, upon which it relies.”).

        Virtually none of the cases applying equitable estoppel on behalf of nonsignatories, and

 certainly none in any of the plaintiffs’ states of residence, found it sufficient that the claims “make

 reference to” or “presume the existence of” the agreements containing the arbitration provisions,

 without also relying on their terms. Indeed, the California Supreme Court has rejected the very

 logic that Honda tries to apply here—that without the agreements, there would be no claims.

 Goldman v. KPMG LLP, 173 Cal. App. 4th at 218 (“merely making reference to an agreement

 with an arbitration clause is not enough”); see also Machado, 471 Mass. at 215 (distinguishing



                                                   11
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 12 of 21 PAGEID #: 464



 between mere factual significance of agreement or “but-for” relationship of agreement to claims,

 which was insufficient to establish equitable estoppel, and a situation where the plaintiffs had to

 rely on the terms of the agreement to prove their claims); Lenox MacLaren Surgical Corp. v.

 Medtronic, Inc., 449 Fed. App’x 704, 709 (10th Cir. 2011) (per curiam) (“For a plaintiff's claims

 to rely on the contract containing the arbitration provision, the contract must form the legal basis

 of those claims; it is not enough that the contract is factually significant to the plaintiff's claims or

 has a ‘but-for’ relationship with them.”).

         Honda boasts that “numerous courts” have allowed vehicle manufacturers to enforce the

 arbitration provisions of dealerships against consumers on equitable estoppel grounds, but could

 only point to two unpublished opinions that did so: Agnew v. Honda Motor Co., Ltd., 2009 WL

 1813783 (S.D. Ind. May 2, 2009) from the Southern District of Indiana and Ford Motor Co. v.

 Ables, 207 F. App’x 443, 448 (5th Cir. 2006) from the Fifth Circuit. Motion at 15-16. At least as

 many courts have refused to adopt this theory when Honda or its current attorneys have offered it,

 and the cases rejecting equitable estoppel in this context are both more recent and more consistent

 with the weight of authority.

         In Kramer, for instance, the Ninth Circuit held that vehicle purchasers’ claims that Toyota

 failed to warn of a defect did not rely on and were not intertwined with the dealerships’ purchase

 agreements. Kramer, 705 F.3d at 1130. The Kramer plaintiffs’ warranty claims arose

 “independently from the Purchase Agreements, rather than intimately relying on them.” Id.

 Finally, the court rejected Toyota’s argument that because the plaintiffs sought damages for their

 Priuses’ diminution in value, they had referenced the price term of the Purchase Agreements,

 noting, in contrast to the court in Agnew, 2009 WL 1813783, at *4-5, that “mere reference to a

 term in the Purchase Agreement is not enough” to establish equitable estoppel where the plaintiffs



                                                    12
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 13 of 21 PAGEID #: 465



 “do not seek to enforce or challenge the terms, duties or obligations of the Purchase agreements.”

 Kramer, 705 F.3d at 1132. Similar analysis can be found in Soto, in which both the defendant and

 its counsel are the same as in this case. The Soto court found no equitable estoppel because the

 plaintiffs’ defect claims about their Honda vehicles arose from the manufacturer’s warranty and

 marketing materials, and not the dealership sales contract (which discussed insurance and

 financing and explicitly disclaimed any warranties). Soto, 946 F. Supp. 2d at 955-56.

        Here, as in Kramer and Soto, the plaintiffs do not rely on any terms of the purchase

 agreements with the dealerships or, in the case of the Bergendahls, on the terms of the dealership

 repair invoices, in advancing their claims against Honda. Although plaintiffs did, of course, buy

 their vehicles at independent Honda dealerships, the fact of purchase alone is not enough to

 establish the close connection between agreement and claims necessary to support a finding of

 equitable estoppel. See Murphy v. DirecTV, Inc., 724 F.3d 1218, 1231 (9th Cir. 2014) (“[T]he

 customer agreement proves at most the existence of a transaction; Plaintiffs’ claims do not depend

 on the Agreement’s terms.”). Nor would this Court need to “read, let alone interpret or enforce,”

 any terms of the purchase agreements or repair invoices in order to fully adjudicate the plaintiffs’

 warranty, fraud, and state consumer law claims against Honda. See Boyd, 981 F. Supp. at 1433

 (abrogated on other grounds by Davis v. Southern Energy Homes, Inc., 305 F.3d 1268 (11th Cir.

 2002)). The fact of purchase from a Honda dealership could just as easily be established through

 the plaintiffs’ sales receipts, bank statements, or testimony, and nothing else about the purchase

 agreements has any bearing on the plaintiffs’ claims.

        Defendant also suggests that because Honda has obligations to repair vehicles covered by

 its warranties, it may compel arbitration under Geier v. m-Qube Inc., 2016 WL 3034064, at *3 (9th

 Cir. May 26, 2016). Motion at 14. But the purchase agreements do not impose these obligations



                                                 13
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 14 of 21 PAGEID #: 466



 on Honda; rather, they take pains to point out that any manufacturer’s warranties are separate from

 and not incorporated into those agreements. Honda’s Ex. A at FENNES 000010; Ex. B at

 PRYCHITKO 000004-05; Ex. F at p. 5. And while the Bergendahl invoices mention a “factory

 warranty,” Honda’s Ex. D-E at BERGENDAHL 000011-15, this is hardly equivalent to the sort

 of explicit obligation to a nonsignatory detailed in Geier, where one party to the contract waived

 claims she would otherwise have against the other party’s suppliers. 2016 WL 3034064, at *3.

        Nor need the Bergendahls or any other plaintiffs rely on the terms of these invoices to

 establish claims against Honda, especially when a far more robust explanation of Honda’s

 warranty obligations to purchasers—and relationships with dealerships—can be found within

 Honda’s warranty. Plaintiffs’ Ex. 1 at PLAINTIFFS 000879-922. In short, as in Kramer, the

 plaintiffs here “do not seek to simultaneously invoke the duties and obligations of [Honda] under

 the Purchase Agreement[s], as it has none, while seeking to avoid arbitration.” 705 F.3d at 1134.

 Accordingly, “the inequities that the doctrine of equitable estoppel is designed to address are not

 present.” Id.

            2. Allegations of Interdependent and Concerted Misconduct Alone Are

                 Insufficient to Support a Finding of Equitable Estoppel.

        Some courts, including the Fifth and Eleventh Circuits, have recognized a second basis for

 allowing nonsignatories to compel arbitration under the umbrella of equitable estoppel: when the

 signatory alleges “‘substantially interdependent and concerted misconduct by both the

 nonsignatory and one or more of the signatories to the contract.’” Grigson v. Creative Artists

 Agency, L.L.C., 210 F.3d 524, 527 (5th Cir. 2002) (quoting MS Dealer Serv. Corp. v. D. Franklin,

 177 F.3d 942, 947 (11th Cir. 1999)). Honda seizes on this language to posit that because the

 Complaint states that both Honda and its dealerships failed to disclose the 2015 CR-V’s vibration



                                                 14
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 15 of 21 PAGEID #: 467



 problems, or that dealerships for a time did not provide warranty repairs, the plaintiffs have alleged

 substantially interdependent and concerted misconduct between Honda and the dealerships and

 must be equitably estopped into arbitrating with Honda. Motion at 20-22. This conclusion is both

 legally and factually flawed.

        As a legal matter, multiple circuits, including the Ninth Circuit in Kramer v. Toyota, and

 the Eleventh Circuit where MS Dealer originated, have clarified that the interdependent and

 concerted misconduct theory of equitable estoppel is limited. Like the reliance-on-terms theory

 discussed in the previous section, the interdependent and concerted misconduct theory is limited

 to situations where plaintiffs’ claims are “intimately founded on and intertwined with the

 obligations imposed by” the contract containing the arbitration clause. MS Dealer, 177 F.3d at 948

 (explaining that the complaint alleged a conspiracy between the nonsignatory and signatory to

 charge an excessive fee for a service contract, where that fee was included in the Buyer’s Order

 containing the arbitration clause); Kramer, 705 F.3d at 1133 (“allegations of substantially

 interdependent and concerted misconduct by signatories and nonsignatories, standing alone, are

 not enough”); see also In re Grocery Products Antitrust Litig., 707 F.3d 917, 924 n.8 (8th Cir.

 2013) (holding that reliance on terms of the contract is necessary to establish equitable estoppel

 and that MS Dealer does not support an alternative theory based only on allegations of concerted

 misconduct between a signatory and non-signatory independent of the contract’s terms); In re

 Humana Inc. Managed Care Litig., 285 F.3d 971, 976 (11th Cir. 2002) (denying equitable estoppel

 in RICO action, analyzing MS Dealer’s concerted misconduct language, and concluding that “the

 plaintiff's actual dependence on the underlying contract in making out the claim against the

 nonsignatory defendant is therefore always the sine qua non of an appropriate situation for




                                                  15
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 16 of 21 PAGEID #: 468



 applying equitable estoppel”), rev’d on other grounds by PacifiCare Health Systems, Inc. v. Book,

 538 U.S. 401 (2003)).

        As established in the previous section, none of the plaintiffs’ claims depend on the terms

 of the purchase agreements or repair invoices, and thus they do not meet the “intimately founded

 on and intertwined with” standard of MS Dealer. And in any event, the Complaint never alleges

 concerted misconduct between Honda and its dealerships. Rather, the Complaint makes clear that

 it was Honda that redesigned the 2015 CR-V, Honda that discovered the resultant severe vibration,

 and Honda that chose not to mitigate the vibration because doing so would have reduced fuel

 efficiency or required expensive changes. Complaint at ¶¶ 2-3, 27-40. The Complaint also

 emphasizes that it was “Honda [that] chose instead to sell the CR-V as is—with the extreme

 vibration,” id. at ¶ 4, and Honda that never “instruct[ed] or authorize[d] its dealerships” to warn

 customers about the problem. Id. at ¶ 43. It is Honda who sets warranty policy—not dealerships—

 and it was Honda that transitioned from initially denying warranty coverage to later funding the

 cost of repairs. Id. at ¶¶ 54-55. In sum, while any particular dealership may have some limited

 sense that there is a problem with a model, dealerships have nowhere near the same level of design

 and manufacturing knowledge as Honda or access to the various streams of aggregate data to which

 Honda is privy—the dealerships ultimately rely on Honda to be told when a problem exists and

 whether to cover it under warranty. Id. at ¶41.

        The allegations in the plaintiffs’ Complaint—namely, that dealerships had less information

 than Honda about the defect at issue and took direction from Honda about how to respond—depart

 markedly from the allegations that were found to constitute interdependent and concerted

 misconduct in Orcutt v. Kettering Radiologists, a case relied on by Honda. In Orcutt, the plaintiff

 “sought to hold [the nonsignatory] jointly and severally liable for all of the conduct of [the



                                                   16
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 17 of 21 PAGEID #: 469



 signatory,] including the alleged discrimination, harassment, retaliation, and breach of contract.”

 Orcutt, 199 F. Supp. 2d 746, 753 (S.D. Ohio 2002). Such intertwined claims against signatory and

 nonsignatory are simply not present here.

        D.      The Magnuson-Moss Warranty Act Does Not Permit Mandatory and

                Binding Arbitration.

        A second independent reason, beyond its non-signatory status, also prevents Honda from

 availing itself of the arbitration provisions in the dealerships’ purchase agreements and invoices.

 Because Honda has provided purchasers of its vehicles with a written warranty, it is a “warrantor”

 within the meaning of the MMWA. 15 U.S.C. § 2301(5). And the MMWA expressed a

 Congressional policy of “encourag[ing] warrantors to establish procedures whereby consumer

 disputes are fairly and expeditiously settled through informal dispute settlement mechanisms” and

 charged the Federal Trade Commission (“FTC”) with promulgating rules to govern such informal

 mechanisms.” 15 U.S.C. § 2310(a)(1)-(2). Pursuant to its rulemaking authority, the FTC has

 provided that the terms of any informal dispute resolution procedure that a warrantor develops

 must be set out “in a single document,” along with other information about its warranty, in “in

 simple and readily understood language.” 16 C.F.R. § 701.3(a). The single document in which

 Honda purported to provide this required information to purchasers of the 2015 CR-V was its

 warranty. The purchase agreements do not contain information about Honda’s warranty; to the

 contrary, they specifically point out that the manufacturer’s warranty is separate. See, e.g., Honda’s

 Ex. B at PRYCHITKO 000004-05. Thus Honda’s attempt to rely on the dispute resolution

 provisions in the purchase agreements and invoices is a violation of the MMWA’s single document

 rule. See Larrain v. Bengal Motor Co. Ltd., 976 So. 2d 12, 14 (Fla. Dist. Ct. App. 2008) (refusing




                                                  17
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 18 of 21 PAGEID #: 470



 to enforce dealership’s stand-alone arbitration clause because it was not contained in same

 document with all other warranty terms).

        The arbitration provisions in the dealerships’ purchase and repair agreements violate the

 MMWA in another way as well: they are binding and prevent consumers from going to court or

 participating in a class action. See, e.g., Honda’s Ex. A at FENNES 000013; Ex. C at NONNI

 000002. By contrast, the MMWA provides that any informal dispute resolution procedure

 developed by a warrantor must be offered as a precondition, not an alternative, to pursuing

 individual or class claims in court. See 15 U.S.C. § 2310(a)(3)(C) (stating that if a warrantor

 chooses to establish an informal dispute resolution procedure, then consumers may not “commence

 a civil action” or “proceed in a class action” against that warrantor until they have exhausted their

 remedies under the informal dispute resolution procedure). The FTC has stated the prohibition

 even more plainly: “[t]he mechanism shall inform the consumer . . . that [i]f he or she is dissatisfied

 with its decision or warrantor’s intended actions, . . . legal remedies may be pursued” and

 “[d]ecisions of the mechanism shall not be legally binding on any person.” 16 C.F.R. § 703.5(g),

 (j); see also 80 Fed. Reg. 42710, 42718 (July 20, 2015) (FTC reaffirming its conclusion, first made

 in 1975, that “reference within the written warranty to any binding, non-judicial remedy is

 prohibited by the Rule and the [Magnuson-Moss] Act.”) (quoting 40 Fed. Reg. 60168, 60211 (Dec.

 31, 1975)).

        Two courts in the Sixth Circuit have interpreted the MMWA and its implementing

 regulations to bar mandatory arbitration of consumer claims against warrantors. In Rickard v.

 Teynor's Homes, Inc., 279 F. Supp.2d 910 (N.D. Ohio 2003), the court denied a motion to dismiss

 or compel arbitration brought by a seller of a mobile home against a buyer who had filed claims

 under the MMWA as well as Ohio consumer protection laws. After discussing the history and



                                                   18
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 19 of 21 PAGEID #: 471



 purposes of the MMWA and the principles of deference to agency interpretation of statutes under

 Chevron U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837, 842-43 (1984),

 the court concluded that the FTC’s position prohibiting binding arbitration of warranty claims was

 reasonable and entitled to deference. Rickard, 279 F. Supp. 2d at 919-921.2 It added that because

 the FAA was initially intended to apply to disputes between sophisticated commercial parties, the

 “liberal policy [favoring arbitration under the FAA] should not encroach on or undermine the

 manifest pro-consumer policy of the MMWA.” Id. at 921. See also Lewis v. Epic Systems Corp.,

 No. 15-2997, 2016 WL 3029464, at *6 (7th Cir. May 26, 2016) (holding that the FAA and the

 National Labor Relations Act could be harmonized where they had distinct scopes and purposes

 and overlapped one another rather than irreconcilably conflicting). Four years later, a court in this

 district conducted a similar analysis and reached the same conclusion, that “the MMWA precludes

 enforcement of binding arbitration agreements for claims under a written warranty.” Higgs v.

 Warranty Group, No. C2-02-1092, 2007 WL 2034376 (S.D. Ohio July 11, 2007).

        This Court should follow the reasoning of Rickard and Higgs and bar Honda from

 enforcing the binding arbitration provisions in the dealerships’ agreements, which contrast sharply

 with the optional dispute resolution procedure in its own warranty. All of the plaintiffs’ claims

 involve and rely on Honda’s written warranty, and so on this basis none of them are arbitrable. At

 a minimum, Honda should be barred from compelling arbitration of the claims under the first cause

 of action, which explicitly invokes the MMWA.




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  Rickard limited its holding to claims brought pursuant to written warranties and did not bar
 arbitration of the plaintiffs’ state consumer law claims. 279 F. Supp.2d at 921. Nothing in the
 MMWA or the FTC regulations mandates such a limitation, as the requirement that informal
 dispute resolution procedures be included in written warranties applies to “warrantors” and
 “consumer disputes,” not just to disputes brought under the MMWA. See 15 U.S.C. § 2310(a).
                                                  19
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 20 of 21 PAGEID #: 472



    IV.      CONCLUSION

          For the foregoing reasons, Plaintiffs respectfully request that the Court deny Honda’s

 motion to compel arbitration and to stay this action. If the Court does grant Honda’s motion with

 respect to any of the plaintiffs, then it should dismiss those plaintiffs’ claims without prejudice so

 they may pursue an appeal.


 DATED: July 15, 2016                           Respectfully submitted,

                                                 /s/ David K. Stein

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                                                  20
Case: 2:16-cv-00429-MHW-EPD Doc #: 19 Filed: 07/15/16 Page: 21 of 21 PAGEID #: 473



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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 15, 2016, a copy of the foregoing was filed electronically.

 Notice of this filing will be sent to all parties by operation of the Court’s electronic filing system.

 Parties may access this filing through the Court’s system.


                                                 /s/ David K. Stein
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                                                   21
